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                             IN THE LTNITED S'TATES DISTRICT COURT
                             FOR THE NORTFMRN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

     LTNITED STATES OF AMEzuCA

     V                                                       NO. 4:23-CR-230-O
     JUAN AGUILERA DURAN (01)


                           PLEA AGREEMENT WITH WAIVER OF APPEAL

            Juan Aguilera Duran, the defendant; John Stickney, the defendant's attomey; and

     the United States of America (the government) agree as follows

           1.         Rights of the defendant: The defendant understands that the defendant

     has the rights

                      a.     to plead not guilty;

                      b.     to have atrial by jury;


                      c.     to have the defendant's guilt proven beyond a reasonable doubt;

                      d.     to confront and cross-examine witnesses and to call witnesses in the
                             defendant's defense; and

                      e.     against compelled self-incrimination.


            2.        Waiver of rights and plea of guilty: The defendant waives these rights

     and pleads guilty to the offense alleged in Count One of the superseding information,

     charging a violation of 18 U.S.C. 5 2252A(a)(2)(A) and (b)(1), that is, receipt of child

     pornography. The defendant understands the nature and elements of the crime to which




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the defendant is pleading guilty, and agrees that the factual resume the defendant has

signed is true and will be submitted as evidence.

       3.     Sentence: The minimum and maximum penalties the Court can impose

include

              a.        imprisonment for a period not less than five (5) years, and no more
                        than20 years;

              b         a fine not to exceed $250,000, or twice any pecuniary gainto the
                        defendant or loss to the victim(s);

              c         a term ofsupervised release ofany term ofyears or life, but not less
                        than five (5) years, which is mandatory under the law and will
                        follow any term of imprisonment. If the defendant violates the
                        conditions of supervised release, the defendant could be imprisoned
                        for the entire term of- supervised release;

              d.        a mandatory special assessment of $ 100;


              e.        a secondary mandatory special assessment of $5,000, unless the
                        Court finds the defendant to be indigent, must also be imposed
                        pursuant to 18 U.S.C. $ 3014 for offenses occurring on or after May
                        29,2015;

              f.        an assessment of up to $35,000 pursuant to 18 U.S.C . $ 2259A;

              o
              b.        restitution of not less than $3,000 per victim, which may be
                        mandatory under the law 18 U.S.C. S 2259A, and which the
                        defendant agrees may include restitution arising from all relevant
                        conduct, not limited to that arising from the offense of conviction
                        alone;

              h.        registration as a sex offender under the Sex Offender Registration
                        and Notification Act;

              l.        costs of incarceration and supervision; and




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               h.       forfeiture of properfy.

          4.   Immigration consequences: The defendant recognizes that pleading

guilty may have consequences with respect to the defendant's immigration status if the

defendant is not a citizen of the United States. Under federal law, a broad range of

crimes are removable offenses. The defendant understands this may include the offense

to which the defendant is pleading guilty, and for purposes of this plea agreement, the

defendant assumes the offense is a removable offense. Removal and other immigration

consequences are the subject ofa separate proceeding, however, and the defendant

understands that no one, including the defendant's attomey or the district court, can

predict to a certainty the effect of the defendant's conviction on the defendant's

immigration status. The defendant nevertheless affirms that the defendant wants to plead

guilty regardless of any immigration consequences that the defendant's plea of guilty

may entail, even if the consequence is the defendant's automatic removal from the United

States.

          5.   Court's sentencing discretion and role of the Guidelines: The defendant

understands that the sentence in this case will be imposed by the Court after consideration

of the United States Sentencing Guidelines. The guidelines are not binding on the Court,

but are advisory only. The defendant has reviewed the guidelines with the defendant's

attomey, but understands no one can predict with certainty the outcome of the Court's

consideration of the guidelines in this case. The defendant will not be allowed to

withdraw the defendant's plea if the defendant's sentence is higher than expected. The




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defendant fully understands that the actual sentence imposed (so long as it is within the

statutory maximum) is solely in the discretion of the Court.

       6.     Defendant's agreement. 'fhe defendant shall not knowingly provide false

information to the U.S. Probation Office (USPO), the Court, or the government relating

to the offense(s) of conviction and all relevant conduct, or any information the defendant

must provide related to this agreement.

       7.     Mandatory special assessment: The defendant agrees to pay the U.S.

District Clerk the amount of $ 100 and, unless the Court finds the defendant indigent

specifically for the purpose of this paragraph, pursuant to 18 U.S.C. $ 3014(a), an

additional amount of $5000, and an additional assessment of not more than $35,000

pursuant to 18 U.S.C. g 2259A(a) in satisfaction of the mandatory special assessment(s)

prior to sentencing.

       8.     Financial Obligations: The defendant understands that any financial

obligation imposed by the Court for restitution, fines, or special assessments is due and

payable immediately. In the event the Court imposes a schedule for payment, the

defendant agrees that such a schedule represents a minimum payment obligation and does

not preclude the U.S. Attomey's Office from pursuing any other means by which to

satistz the defendant's full and immediately enforceable financial obligation. The

defendant understands that the defendant has a continuing obligation to pay in full as

soon as possible any financial obligation imposed by the Court. The defendant further

agrees as follows:




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              a. The defendant agrees that the financial statement, with any supporting
                  documents, the defendant provides to the USPO may be shared with the

                  Court and the government.

              b. The defendant shall submit to interviews by the govemment and the
                  USPO regarding the defendant's capacity to satisff any fine, restitution,

                  or special assessment.

              c. The defendant expressly authorizes the United States Attorney's Office
                  to immediately obtain a credit report on the defendant to evaluate the

                  defendant's ability to satis$r any financial obligation imposed by the

                  Court.

       9.     Restitution: The defendant agrees that the Court is authorized to order, and

the defendant agrees to pay, restitution for all loss resulting from the offense(s) of

conviction and all relevant conduct, in an amount to be determined by the Court.

Defendant agrees that, for purposes of this paragraph, restitution for relevant conduct

shall include all acts and omissions described in USSG g 181.3(a)(1)(A) and (1)(B), as

well as all acts and omissions that were part of the same course of conduct or common

scheme or plan, regardless whether the grouping rules in USSG $ 3D1.2 might apply to

computation of the advisory imprisonment range. The defendant understands that should

the Court order that restitution be paid jointly and severally with others who are required

to pay restitution for the same loss to victims that credit may not be received for all

payments made by any other person with joint and several liability. The defendant agrees

that any restitution ordered to be paid jointly and severally remains the responsibility of


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the defendant until the defendant has paid the defendant's ordered amount of restitution

in full or the respective victim has been paid in full.

        10. Government's agreement: The govemment will not bring any additional
charges against the defendant based upon the conduct underlying and related to the

defendant's plea of guilty. The govemment will dismiss, after sentencing, any remaining

charges in the pending indictment/information. This agreement is limited to the United

States Attorney's Office for the Northem District of Texas and does not bind any other

federal, state, or local prosecuting authorities, nor does it prohibit any civil or

administrative proceeding against the defendant or any property.

       1   1.   Violation of agreement: The defendant understands that if the defendant

violates any provision of this agreement, or if the defendant's guilty plea is vacated or

withdrawn, the government will be free from any obligations of the agreement and free to

prosecute the defendant for all offenses of which it has knowledge, including the

reinstatement of charges dismissed pursuant to this plea agreement. In the event of such

a violation, vacatur, or withdrawal, the defendant waives all objections based upon delay


in prosecution. If the plea is vacated or withdrawn for any reason other than a finding

that it was involuntary, the defendant also waives all objections to the use against the

defendant of any information or statements the defendant has provided to the

government, and any resulting leads.

       12. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea




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agreement. There have been no guarantees or promises from anyone as to what sentence

the Court will impose.

        13. Waiver of right to appeal or otherwise challenge sentence: The
defendant waives the defendant's rights, conferred by 28 U.S.C. $ 1291 and 18 U.S.C.

S 3742, to appeal the conviction, sentence, fine and order of restitution or forfeiture in an

amount to be determined by the Court. The defendant further waives the defendant's

right to contest the conviction, sentence, fine and order of restitution or forfeiture in any

collateral proceeding, including proceedings under 28 U.S.C. S 2241and 28 U.S.C

S 2255. The defendant, however, reserves the rights (a) to bring a direct appeal of (i) a


sentence exceeding the statutory maximum punishment, or (ii) an arithmetic error at

sentencing, (b) to challenge the voluntariness of the defendant's plea of guilty or this

waiver, and (c) to bring a claim of ineffective assistance of counsel.

        14. Representation of counsel: The defendant has thoroughly reviewed all
legal and factual aspects of this case with the defendant's attomey and is fully satisfied

with that attorney's legal representation. The defendant has received from the

defendant's attorney explanations satisfactory to the defendant concerning each

paragraph of this plea agreement, each of the defendant's rights affected by this

agreement, and the alternatives available to the defendant other than entering into this

agreement. Because the defendant concedes that the defendant is guilty, and after

conferring with the defendant's attomey, the defendant has concluded that it is in the

defendant's best interest to enter into this plea agreement and all its terms, rather than to

proceed to trial in this case.


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       15. Entirety of agreement: This document, including any Supplement filed
contemporaneously, is a complete statement of the parties' agreement and may not be

modified unless the modification is in writing and signed by allparties. This agreement

supersedes any and all other promises, representations, understandings, and agreements

that are or were made between the parties at any time before the guilty plea is entered in

court. No promises or representations have been made by the United States except as set

forth in writing in this plea agreement.

       AGREED TO AND SIGNED this               day of                        2023

                                           LEIGHA SIMONTON
                                           UNITED STATES ATTORNEY



                                                   IE WADE
                                                    United States Attorney
                                           Texas State Bar No. 24058350
                                           1100 Commerce Street, Third Floor
                                           Dallas, Texas 15242
                                           Telephone: 214-659-8734
                                           Facsimile: 817 -252-5455
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                                                  Branch Chief




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       I have read or had read to me this plea agreement and have carefully reviewed
every part of it with my attomey. I fully understand it and voluntarily agree to it.


 d     AGUILERA DURAN
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                                                  Date

      I am the defendant's attorney. I have carefully reviewed every part of this plea
agreement with the defendant. To my knowledge and belief, my client's decision to enter
into this plea agreement is an informed and voluntary one.


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JOHN STICKNEY                                     Date
Attorney for Defendant




        I have been advised, and understand, that under the Sex Offender Registration and
Notification Act, a federal law, I must register and keep the registration current in each of
the following jurisdictions: where I reside; where I am an employee; and where I am a
student. I understand that the requirements for registration include providing my name,
my residence address, and the names and addresses of any places where I am or will be
an employee or a student, among other information. I further understand that the
requirement to keep the registration current includes informing at least one jurisdiction in
which I reside, am an employee, or am a student not later than three business days after
any change of my name, residence, employment, or student status. I further understand
that I am required to provide information relating to my intended travel outside the
United States. I have been advised, and understand, that failure to comply with these
obligations subjects me to prosecution for failure to register under federal law, 1S U.S.C.
5 2250, which is punishable by a fine or imprisonment or both.



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JOHN STICKNEY                             Date
Attorney for Defendant




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